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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    Robin Outler,                                    §
                                                     §
           Plaintiff,                                §
                                                     §
    v.                                               §   Case No. 4:16-cv-00372-ALM
                                                     §
    Southwest Credit Systems, LP,                    §
                                                     §
           Defendant.                                §

                                    ORDER OF DISMISSAL WITH
                                          PREJUDICE


           Pursuant to the Parties’ Stipulation of Dismissal filed under Fed. R. Civ. P.

    41(a)(1)(A)(ii), the Court hereby dismiss the present action with prejudice, with each party to

.   bear its own costs.

           All relief not previously granted is hereby denied.

           The Clerk is directed to close this civil action.

           IT IS SO ORDERED.
           SIGNED this 2nd day of December, 2016.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
